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  1    Kevin F. Kieffer (Bar No. 192193)
       kevin.kieffer@troutman.com
  2    TROUTMAN PEPPER HAMILTON SANDERS LLP
       5 Park Plaza, Suite 1400
  3    Irvine, CA 92614-2545
       Telephone: 949.622.2700
  4    Facsimile: 949.622.2739
  5    Attorneys for Defendant/Counter-Plaintiff
       GREAT AMERICAN INSURANCE COMPANY
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  8                           UNITED STATES DISTRICT COURT
  9                          CENTRAL DISTRICT OF CALIFORNIA
 10                                   SOUTHERN DIVISION
 11
 12   BOARDRIDERS, INC.,                             Case No. 8:21-cv-01260-JLS-JDE
 13                     Plaintiff,                   NOTICE OF SETTLEMENT AND
                                                     STIPULATION TO STAY
 14   v.                                             PROCEEDINGS
 15   GREAT AMERICAN INSURANCE                       Compl. Filed: July 26, 2021
      COMPANY,
 16                                                  Judge: Hon. Josephine L. Staton
                        Defendant.
 17
 18   GREAT AMERICAN INSURANCE
      COMPANY,
 19
                       Counter-Claimant,
 20
             v.
 21
      BOARDRIDERS, INC.,
 22
                        Counter-Defendant.
 23
 24
 25           The parties are pleased to report that, thanks to both parties’ efforts, this matter
 26   has settled in all respects, including: Plaintiff’s claims for breach of contract,
 27   declaratory relief, bad faith, special and consequential damages, punitive and
 28   exemplary damages, pre- and post-judgment interest, and attorneys’ fees and costs;

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                                                                                                                1   and Defendant’s claims for declaratory relief, reimbursement, pre- and post-
                                                                                                                2   judgment interest, and attorneys’ fees and costs.1 The parties are currently preparing
                                                                                                                3   a written settlement agreement. In the meantime, and consistent with Judge Staton’s
                                                                                                                4   Procedures set forth on the Court’s website, the parties request this Court to stay all
                                                                                                                5   proceedings in this case pending the filing of a stipulation of dismissal, which the
                                                                                                                6   Parties hope to file on or before December 3, 2021. (See also Mayfield v. City of L.A.,
                                                                                                                7   No. 2:20-cv-07120-SB-AS, 2021 U.S. Dist. LEXIS 134462 (C.D. Cal. July 15,
                                                                                                                8   2021)).
                                                                                                                9
                                                                                                               10   Dated: October 26, 2021                 TROUTMAN PEPPER
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




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                                                                                                               12                                           /s/ Kevin F. Kieffer2
                                                                               I R V I N E , C A 92614-2545




                                                                                                                                                            Kevin F. Kieffer
                                             5 PAR K PLA ZA
                                                              S U I T E 1400




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                                                                                                                                                            Attorneys for Defendant/Counter-Plaintiff
                                                                                                               14                                           Great American Insurance Company
                                                                                                               15
                                                                                                               16   Dated: October 26, 2021                 HUNTON ANDREWS KURTH LLP
                                                                                                               17
                                                                                                               18                                           /s/ Scott P. DeVries
                                                                                                                                                            Scott P. DeVries
                                                                                                               19
                                                                                                                                                            Attorney for Plaintiff/Counter-Defendant
                                                                                                               20                                           Boardriders, Inc.
                                                                                                               21
                                                                                                               22
                                                                                                                    1
                                                                                                                      The parties to the related case, Great American Insurance Company v. National
                                                                                                               23
                                                                                                                    Union Fire Insurance Company of Pittsburgh, PA and AIG Europe S.A., No. 2:21-
                                                                                                               24   cv-06945-JLS-JDE, have also reached a settlement in all respects, and will be filing
                                                                                                                    a separate Notice on the docket of that action.
                                                                                                               25
                                                                                                                    2
                                                                                                               26     I, the undersigned, am the ECF user whose identification and password are being
                                                                                                                    used to file this document. I hereby attest and represent, in compliance with Civil
                                                                                                               27
                                                                                                                    L.R. 5-4.3.4(2), that all other signatories listed above, and on whose behalf the filing
                                                                                                               28   is submitted, have concurred in this filing and have approved its contents.
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